 Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2920 Filed 01/26/22 Page 1 of 8




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                      No. 1:20-cr-183

             v.                                     Hon. Robert J. Jonker
                                                    Chief U.S. District Judge
KALEB JAMES FRANKS,

                  Defendant.
_________________________________/

       UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION TO
          COMPEL PRODUCTION OF JAIL CALL RECORDINGS

      Defendants, along with a number of other people charged by the State of

Michigan, conspired to attack and kidnap the Governor of Michigan. Defendant

moves this Court to compel the government to produce all recorded statements (e.g.¸

letters, emails, phone calls, text messages) made in jail by witnesses that the

government will call at trial. While he requests all statements regardless of subject

matter, his proffered purpose is to find evidence to assist in his defense. Neither he

nor the government have any specific or good faith reason to believe that these

statements exist.    The requested recordings are also not in the government’s

possession. The various county jails that may be in possession of recorded calls are

not members of the prosecution team because they are not participating in the

investigation and prosecution of the criminal case against Defendants. The motion

should be denied.




                                          1
 Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2921 Filed 01/26/22 Page 2 of 8




                                 Factual Background

      Franks and five other defendants were arrested on October 7, 2020, and

charged by complaint in the Western District of Michigan. Each has been detained

in various facilities in the District and elsewhere since that time. Eight additional

defendants were charged by the State of Michigan. They were detained, for various

periods, in the Antrim County Jail, the Jackson County Jail, and Columbia County

in Wisconsin.     Each of these facilities presumably makes different forms of

communication available to their inmates, keeps inmate communications for

different periods of time, and has different protocols for screening inmate

communications.    The government has only a small sample of jail calls for the

defendants (in both federal and state cases) in its possession.

                                 Law and Argument

      Defendant’s motion is a fishing expedition, hoping to find evidence that he did

not participate in the conspiracy to kidnap the Governor or to put meat on the

otherwise bare bones of his proposed entrapment defense. Defendant attempts to

cast a wide net in finding recorded jail calls that fit his purpose, though there is no

reason to believe they exist. There are three theories under which Defendant’s

request can be considered – Rule 16 discovery, Brady/Giglio, and 18 U.S.C. § 3500

(the Jencks Act) – though none provide the relief he seeks.

      I.     Rule 16

      Federal Rule of Criminal Procedure 16(a)(1)(E) provides, in relevant part:

      Upon a defendant’s request, the government must permit the defendant
      to inspect and to copy or photograph books, papers, documents, data,

                                           2
 Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2922 Filed 01/26/22 Page 3 of 8




      photographs, tangible objects, buildings or places, or copies or portions
      of any of these items, if the item is within the government's possession,
      custody, or control and . . . (I) the item is material to preparing the
      defense[.]

      “A defendant does not satisfy [the] requirement that an object be ‘material to

the preparation of the defendant’s defense’ by means of merely conclusory arguments

concerning materiality.” United States v. Phillip, 948 F.2d 241, 250 (6th Cir.

1991) (internal citation omitted). “[T]o obtain discovery of [an] object, the defendant

must make a prima facie showing of materiality.” Id.

      Defendant’s request fails to meet the requirements of Rule 16. As stated, all

jail recordings regardless of content, it is too broad to be material to preparing his

defense, and therefore is not subject to Rule 16 discovery. Most calls would be

irrelevant to the charged offenses or the subject of later testimony.

      If the request is more narrowly construed to only include recorded jail

communications in which a witness says something that may be favorable to

Defendant, Defendant offers no evidence that such calls exist. If they do exist, they

are not in the government’s possession, custody, or control. “Government” does not

include state or local law enforcement agencies (such as county jails). United States

v. Marshall, 132 F.3d 63, 68 (D.C. Cir. 1998). Courts have interpreted “possession,

custody, or control” as requiring “knowledge and access.” See, e.g., United States v.

Bryan, 868 F.2d 1032 (9th Cir.), cert. denied, 493 U.S. 858, 110 S.Ct. 167, 107 L.Ed.2d

124 (1989). The government is not aware of or in possession of such recordings.




                                           3
 Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2923 Filed 01/26/22 Page 4 of 8




      II.    Brady/Giglio

      The government has a relatively small number of jail calls in its possession,

but they do not contain any Brady or Giglio material. Defendant offers no authority

to compel the government to obtain and search through, or allow a defendant to

search through, voluminous recordings not in its possession and that it does not have

knowledge of.

      The government is required to produce “evidence favorable to an accused . . .

where the evidence is material either to guilt or to punishment.” Brady v. Maryland,

373 U.S. 83, 87 (1963). “[E]vidence is ‘material’ within the meaning of Brady when

there is a reasonable probability that, had the evidence been disclosed, the result of

the proceeding would have been different.” Cone v. Bell, 556 U.S. 449, 469–70 (2009).

The government here has endeavored, and will continue to endeavor, to produce any

information that is arguably Brady material reasonably promptly after discovery, but

the constitutional standard is satisfied so long as disclosure is made in time for the

defendant to use it at trial. E.g., United States v. Crayton, 357 F.3d 560, 569 (6th Cir.

2004) (citing United States v. Presser, 844 F.2d 1275, 1283 (6th Cir. 1988)); see United

States v. Davis, 306 F.3d 398, 421 (6th Cir. 2002) (“Delay violates Brady only where

the delay causes prejudice.”).

      The Giglio Court followed the Brady standard for exculpatory evidence,

holding that impeachment evidence also requires “[a] finding of materiality.” Giglio

v. United States, 405 U.S. 150, 154 (1972). The defense must be able to show that

specific impeachment evidence is material. E.g., United States v. Watson, 778 F.



                                           4
    Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2924 Filed 01/26/22 Page 5 of 8




App’x 340, 353 (6th Cir. 2019) (observing that Giglio requires a showing of

materiality). Giglio information is only discoverable with respect to a testifying

witness who could be impeached, and so Giglio disclosures cannot be made before the

government has identified which witnesses it will call at trial. Like Brady material,

then, the constitutional requirement is satisfied so long as the disclosure is made in

time for the defendant to use the information at trial. See, e.g., United States v. Blake-

Saldivar, 505 F. App’x 400, 410 (6th Cir. 2012) (citing United States v. Agurs, 427

U.S. 97, 108 (1976)); Crayton, 357 F.3d at 569.

        Defendant argues that “[t]he government can’t review materials like these to

assess whether they fall under Brady.” 1 (PageID.2821.) But, the Supreme Court has

held precisely the opposite. A “defendant’s right to discover exculpatory evidence

does not include the unsupervised authority to search through the [government’s]

files.” Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987). Thus, it is the government’s

responsibility to “decide[] which information must be disclosed,” and “[u]nless defense

counsel becomes aware that other exculpatory evidence was withheld and brings it to




1 Defendant cited United States v. Benanti, No. 3:15-cr-177, 2017 WL 78734 (E.D.
Tenn. Jan. 6, 2017), in furtherance of this proposition. Benanti has no relevance here.
The parties there agreed that the phone recordings were not Giglio material and
there was no mention of Brady in the ruling.

The proposition that the government cannot identify Brady material is also a stark
change from Defendant’s prior joinder in a motion (ECF Nos. 238 & 252) requesting
this Court to compel the government to specifically identify the Brady material
because discovery was voluminous. It would seem that the current boundless request
for jail calls would be similarly voluminous, if not more so.
                                            5
  Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2925 Filed 01/26/22 Page 6 of 8




the court’s attention, the prosecutor’s decision on disclosure is final.” Id. (footnote

omitted).

      Defendant cites Anderson v. City of Rockford, 932 F.3d 494, 498 (7th Cir. 2019),

but the facts there are plainly distinguishable. There, the detective obtained the jail

calls that were in dispute well before trial. Id. at 509. He listened to them, withheld

them from the prosecutor and defense until it was too late to use them, and then

misrepresented their content and exculpatory significance when he did turn them

over on the eve of trial. Id. Here, unlike Anderson, the existence of exculpatory jail

calls is purely speculative.     Here, unlike Anderson, the government is not in

possession of any exculpatory calls. Here, unlike Anderson, the government has and

will continue to disclose to the defendants all evidence that they are entitled to.

      III.   Jencks material

      The Jencks Acts (18 U.S.C. § 3500) and Rule 26.2(a) require the production of

“any statement of the witness that is in [the party’s] possession . . . that relates to the

subject matter of the witness’s testimony.” Defendant concedes that Rule 26.2 and

the Jencks Act only allow him to obtain prior statements made by witnesses who will

testify for the government. (PageID.2820.)

      Although the government frequently makes earlier disclosures voluntarily, the

rule requires production only after the witness testifies. See Fed. R. Crim. P. 26.2(a);

United States v. Presser, 844 F.2d 1275, 1283 (6th Cir. 1988) (“[T]he government may

not be compelled to disclose Jencks Act material before trial.”). This timing rule is

based on concerns for witnesses’ safety, which the government is best positioned to



                                            6
    Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2926 Filed 01/26/22 Page 7 of 8




evaluate. See Presser, 844 F.2d at 1285 (observing that “an important function of the

Jencks Act” is “the protection of potential government witnesses from threats of harm

or other intimidation before the witnesses testify at trial”).

        Defendant’s request fails to comport with the requirements of Rule 26.2(a).

First, with limited exception, the jail calls that he seeks are not in the government’s

possession. “A statement is considered to be in the government’s possession when it

is in the possession of a federal prosecutorial agency.” United States v. McRaven,

Case No. 1994 WL 679372, 43 F.3d 1473 (Table), *2 (6th Cir. Dec. 5, 1994),

citing United States v. Cagnina, 697 F.2d 915, 922 (11th Cir.1983). The government

will disclose the calls in its possession with the other Jencks material closer to trial. 2

If there are other recorded jail calls in the possession of individual state or county

correctional facilities, those are not in the possession of the government and therefore

not subject to Rule 26.2. McRaven, at *2; see also e.g., United States v. Speight, 440

F. App’x 762 (5th Cir. 2006).

        Second, Rule 26.2 only calls for disclosure of statements “relate[d] to the

subject matter of the witness’s testimony.” Defendant, in contrast, would like every

recorded statement made by the witness while in jail, regardless of subject matter.

        WHEREFORE, the United States respectfully requests that this Court deny

Defendants’ motion.




2 Consistent with the spirit of the present motion, the United States will disclose all
of each defendant’s calls in its possession, and will do so with other Jencks material
well ahead of the rule’s timeline. However, the government would object to any
further delay in trial based on the volume of this disclosure.
                                            7
 Case 1:20-cr-00183-RJJ ECF No. 427, PageID.2927 Filed 01/26/22 Page 8 of 8




                                   Respectfully submitted,

                                   ANDREW BYERLY BIRGE
                                   United States Attorney

Dated:     January 26, 2022          /s/ Jonathan Roth
                                   JONATHAN ROTH
                                   NILS R. KESSLER
                                   Assistant United States Attorneys
                                   United States Attorney’s Office
                                   P.O. Box 208
                                   Grand Rapids, MI 49501-0208
                                   (616) 456-2404




                                     8
